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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                             Case No. 20-cv-23564-MGC
     ____________________________________
                                          :
     DAVID WILLIAMS, et al.,              :
                                          :
                                          :
                             Plaintiffs,  :
                                          :
           vs.                            :
                                          :
     RECKITT BENCKISER LLC, et al.,       :
                                          :
                                          :
                             Defendants. :
     ____________________________________:

                   TRUTH IN ADVERTISING, INC.’S MEMORANDUM
                IN RESPONSE TO COURT’S SEPTEMBER 18, 2021 ORDER

            Truth in Advertising, Inc. (“TINA.org”) submits this supplemental brief pursuant

     to the Court’s September 18, 2021 Order (D.E. 121) permitting the parties, objector, and

     TINA.org to submit a memorandum of law regarding the parties’ First Amended

     Settlement Agreement (D.E. 116).

            The First Amended Settlement Agreement attempts to convince this Court that the

     parties have made material changes to the proposed settlement in response to the issues

     raised in TINA.org’s (and objector’s) briefs, when, in reality, all they have done is

     temporarily ban1 one additional word from defendants’ marketing of Neuriva – “shown” –

     bringing the total number of prohibited words to two – “shown” and “proven.” The

     amended agreement still allows defendants to use “Clinically Tested” or “similar



     1
       Defendants would only be banned from using these two words for a period of two years
     if the proposed revised settlement is approved. See First Revised Settlement Agreement
     (D.E. 116), ¶ IV.A.3.
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     language,” meaning that the same arguments and data TINA.org has provided in its prior

     briefs apply with equal force to the parties’ First Amended Settlement Agreement. That is

     because, as previously outlined, if the proposed revised settlement is approved, defendants

     will be permitted to use any synonymous terms in their marketing of the supplement they

     choose, including, for example, “clinically tested” and “backed by science,” as defendants

     currently do, or even “confirmed by science,” “demonstrated,” “validated,” “verified,” and

     any other equivalent terminology.




         https://www.schiffvitamins.com/pages/neuriva-brain-health-supplement-research
                            Screen shot taken on September 24, 2021

            Thus, the authority that TINA.org has provided from the Federal Trade

     Commission, the U.S. Department of Health and Human Services, the Global Council on

     Brain Health, the National Advertising Division, the American Bar Association, and Health

     Canada, as well as federal case law and several academic studies, all still – and

     overwhelmingly – support the conclusion that the temporary elimination of two specific

     words from Neuriva’s marketing materials is merely cosmetic and will have no impact on

     the deceptive message communicated to consumers.

            Thus, for the reasons stated herein, as well as those stated in TINA.org’s July 26,

     2021 Brief of Amicus Curiae (D.E. 74), its August 13, 2021 Supplemental Brief (D.E. 92),


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     and its September 9, 2021 Supplemental Brief (D.E. 114), the proposed revised settlement

     should be rejected because, among other things, it would provide defendants with court-

     sanctioned approval for their continuing use of deceptive marketing claims.



     Dated: September 24, 2021                      Respectfully,

                                                    By: _____s/ Jon Polenberg__________
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                                                    Attorneys for Truth in Advertising, Inc.



                                  CERTIFICATE OF SERVICE

             I hereby certify that on September 24, 2021, I electronically filed the foregoing with

     the Clerk of the Court using the CM/ECF system which sent notification to all parties

     registered to receive electronic notices via the Court’s CM/ECF System.

                                                          /s/ Jon Polenberg__
                                                    By: Jon Polenberg, Esq.




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